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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DUSTIN McCORKLE,                               :
          Plaintiff                            :           No. 1:17-cv-1077
                                               :
                                               :           (Judge Kane)
                                               :
FRED SCOTT, et al.,                            :
         Defendants                            :

                                           ORDER

       AND NOW, on this 1st day of February 2019, IT IS ORDERED THAT an in-person

post-discovery status conference in the above-captioned case is scheduled for June 13, 2019 at

10:00 a.m. This conference will be held in Chambers, Courtroom No. 1, Ninth Floor, Federal

Building, Third and Walnut Streets.

                                                   s/ Yvette Kane
                                                   Yvette Kane, District Judge
                                                   United States District Court
                                                   Middle District of Pennsylvania
